   Case 2:18-cr-00268-CW Document 1 Filed 05/23/18 PageID.1 Page 1 of 3



JOHN W. HUBER, United States Attorney (#7226)
MATTHEW E. LLOYD, Special Assistant United States Attorney (#9105)        F IL.E O
ANDREA T. MARTINEZ, Assistant United States Attorney (#9313) U :).      D!~}TRICT   f:PtmT
Attorneys for the United States of America
Office of the United States Attorney
111 South Main Street, Suite 1800
Salt Lake City, Utah 84111-2176
Telephone: (801) 524-5682
Email: mlloyd@agutah.gov

                      IN THE UNITED STATES DISTRICT COURT
                       DISTRICT OF UTAH, CENTRAL DIVISION


  UNITED STATES OF AMERICA,                   INDICTMENT

        Plaintiff,                            VIOLATIONS:
                                              Count I: 18 U.S.C. § 2252A(a)(5)(B) and
        vs.                                   (b)(2), Possession of Child Pornography

  DOUGLAS LYNN CARTER,                        Count II: 18 U.S.C §922(g)(l), Possession
                                              of a Firearm by a Convicted Felon
        Defendant.
                                                      Case: 2: 18-cr-00268
                                                      Assigned To : Waddoups, Clark
      The Grand Jury Charges:                         Assign. Date : 5/23/2018
                                                      Description: USA v. Sealed
                                        COUNT I
                         18 U.S.C. § 2252A(a)(5)(B) and (b )(2)
                           (Possession of Child Pornography)


      On or about April 4, 2018, in the Central Division of the District of Utah, and

elsewhere, DOUGLAS LYNN CARTER, defendant herein, did knowingly possess any

material which contains an image of child pornography, as defined in 18 U.S.C. §

2256(8), that had been mailed, shipped, and transported in interstate and foreign

commerce by any means, including by computer, and which images were produced using

materials that had been mailed, shipped and transported in and affecting interstate and
    Case 2:18-cr-00268-CW Document 1 Filed 05/23/18 PageID.2 Page 2 of 3



foreign commerce, including by computer, and attempted to do so; all in violation of 18

U.S.C. § 2252A(a)(5)(B) and (b )(2).


                                        COUNT II
                                   18 u.s.c. §922(g)(l)
                      (Possession of a Firearm by a Convicted Felon)

       On or about April 4, 2018, in the Central Division of the District of Utah, and

elsewhere, DOUGLAS LYNN CARTER, defendant herein, having been convicted in any

court of, a crime punishable by imprisonment for a term exceeding one year, possessed in

and affecting commerce, a Detonics .45 Caliber Handgun (serial number 2088) and

associated ammunition; all in violation of 18 U.S.C. § 922(g)(l).


            NOTICE OF INTENTION TO SEEK CRIMINAL FORFEITURE
       Pursuant to 18 U.S.C. § 2253, upon conviction of a violation of 18 U.S.C. § 2252A,

as alleged in Count I of this Indictment, the above-named defendant shall forfeit to the

United States, (i) any visual depiction described in 2251, 2251A, or 2252, 2252A, 2252B,

or 2260 of this chapter, or any book, magazine, periodical, film, videotape, or other matter

which contains any such visual depiction, which was produced, transported, mailed,

shipped, or received in violation of this chapter; (ii) any property, real or personal,

constituting or traceable to gross profits or other proceeds obtained from such offense; and

(iii) any property, real or personal, used or intended to be used to commit or to promote the

commission of such offense or any property traceable to such property. The property to be

forfeited includes, but is not limited to, the following:



                                               2
   Case 2:18-cr-00268-CW Document 1 Filed 05/23/18 PageID.3 Page 3 of 3



             •    Samsung Galaxy S8, model number SM-G955U, IMEI number

                  357757081975348.

             •    Detonics .45 Caliber Handgun (serial number 2088)

      If any of the property described above, as a result of any act or omission of the

defendant:

             a.      cannot be located upon the exercise of due diligence;

             b.      has been transferred or sold to, or deposited with, a third party;

             c.      has been placed beyond the jurisdiction of the court;

             d.      has been substantially diminished in value; or

             e.      has been commingled with other property which cannot be divided

                     without difficulty, The United States of America shall be entitled to

                     forfeiture of substitute property pursuant

to 21 U.S.C. §853(p), as incorporated by 18 U.S.C.§2253(b) and 28 U.S.C. §2461(c).

                                                  A TRUE BILL:



                                                      /5(
                                                  FOREPERSON OF GRAND JURY


JOHN W. HUBER
United States Attorney




Special Assistant United States Attorney


                                              3
